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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



  ADVANCE PUBLICATIONS, INC., et al,

                        Plaintiffs,

      v.                                              Civil Action No. 1:23-cv-01014

  EXECUTIVE OFFICE FOR U.S.
  ATTORNEYS,

  FEDERAL BUREAU OF INVESTIGATION,

                       Defendants.



                                                ANSWER

    1. Paragraph 1 consists of Plaintiffs’ characterizations of this lawsuit to which no response is

required.

    2. Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 2.

    3. Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 3.

    4. Defendants admit that Plaintiffs made FOIA requests dated February 24, 2023. The second

sentence of paragraph 4 consists of a legal conclusion to which to response is required.

    5. The first sentence of Paragraph 5 consists of a legal conclusion to which no answer is

required.   To the extent the remaining allegations purport to characterize the contents of

Defendants’ responses to the FOIA requests, Defendants respectfully refer the Court to those




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responses for a full and accurate statement of their contents, and otherwise deny the remaining

allegations of Paragraph 5.

    6. Paragraph 6 consists of quotes from other district court proceedings, to which no response

is required. Defendants respectfully refer the Court to the cited cases for a complete and accurate

statement of their contents.

    7. Paragraph 7 consists of Plaintiffs’ characterization of this lawsuit to which to which no

response is required.

    8. Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 8.

    9. Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 9.

    10. Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 10.

    11. Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 11.

    12. Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 12.

    13. Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 13.

    14. Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 14.

    15. Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 15.



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     16. Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 16.

     17. Defendants admit that EOUSA is an agency of the U.S. government within the meaning of

5 U.S.C. § 552(f). The second sentence of paragraph 17 is a legal conclusion to which no response

is required.

     18. Defendants admit that FBI is an agency of the U.S. government within the meaning of 5

U.S.C. § 552(f). The second sentence of paragraph 18 is a legal conclusion to which no response

is required.

     19. Paragraph 19 consists of legal conclusions regarding jurisdiction, to which no response is

required.

     20. Paragraph 20 consists of a legal conclusion regarding venue, to which no response is

required.

     21. Paragraph 21 consists of legal conclusions regarding exhaustion of remedies, to which no

response is required.

     22. Paragraph 22 consists of a legal conclusion regarding exhaustion of remedies, to which no

response is required.

     23. Paragraph 23 consists of Plaintiffs’ characterization of former President Trump’s

statements, to which no response is required. To the extent a response is required, Defendants

respectfully refer the Court to the cited statements for a full and accurate portrayal of its contents.

     24. Paragraph 24 consists of Plaintiffs’ characterization of a news story to which no response

is required. To the extent a response is required, Defendants respectfully refer the Court to the FBI

Director’s statement for a full and accurate portrayal of its contents.

     25. Defendants admit the allegations of Paragraph 25.



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     26. Defendants admit the allegations of Paragraph 26.

     27. Defendants admit the allegations of Paragraph 27.

     28. Paragraph 28 consists of Plaintiffs’ characterization of a Standing Order to which no

response is required. To the extent a response is required, Defendants respectfully refer the Court

to the Standing Order for a full and accurate portrayal of its contents.

     29. Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 29.

     30. Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 30.

     31. Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 31.

     32. Defendant FBI admits that the Capitol Police has allowed the FBI to access some video

footage to assist in the investigation and prosecution of cases arising out of the events of January 6,

2021. To the extent a further response is required, Defendants lack information or knowledge

sufficient to form a relief as to the truth of the allegations in this paragraph.

     33. Defendant FBI admits that, as part of its investigation into the events of January 6, 2021,

it has published photos and videos on its website seeking the public’s help in identifying suspects.

     34. Paragraph 34 consists of Plaintiffs’ characterization of a news story to which no response

is required. To the extent a response is required, the relevant law enforcement, court, and media

records speak for themselves and are the best evidence of their content.

     35. Paragraph 35 contains Plaintiff’s characterizations of court proceedings, to which no

response is required. To the extent a response is required, the relevant law enforcement, court, and

media records speak for themselves and are the best evidence of their content.



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    36. Paragraph 36 consists of Plaintiffs’ characterization of a Declaration to which no response

is required. To the extent a response is required, Defendants respectfully refer the Court to the cited

declaration for a full and accurate portrayal of its contents

    37. Paragraph 37 consists of Plaintiffs’ characterization of news broadcasts to which no

response is required. To the extent a response is required, Defendants respectfully refer the Court

to the cited broadcasts for a full and accurate portrayal of its contents.

    38. Paragraph 38 consists of Plaintiffs’ characterization of a YouTube broadcast to which no

response is required. To the extent a response is required, Defendants respectfully refer the Court

to the cited broadcast for a full and accurate portrayal of its contents.

    39. Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 39.

    40. Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 40.

    41. Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 41.

    42. Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 42.

    43. Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 43.

    44. Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 44.

    45. Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 45.



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    46. Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 46.

    47. Defendants admit that Plaintiffs submitted FOIA requests dated February 24, 2023.

Defendants respectfully refer the Court to the requests for a full and accurate statement of their

contents.

    48. Defendants admit that Plaintiffs sought expedited processing of their FOIA request.

    49. Defendant EOUSA admits the allegations of Paragraph 49.

    50. Defendant EOUSA admits the allegations of Paragraph 50.

    51. Paragraph 51 consists of legal conclusions to which no response is required.

    52. Defendant EOUSA admits the allegations of Paragraph 52.

    53. Defendant EOUSA admits the allegations of Paragraph 53.

    54. Defendant EOUSA denies the allegations of Paragraph 54. Since the filing of this action,

EOUSA has provided a final determination to Plaintiffs.

    55. Defendant FBI admits the allegations of Paragraph 55.

    56. Defendant FBI admits the allegations of Paragraph 56.

    57. The allegations of Paragraph 57 are a characterization of Plaintiffs’ appeal to which no

response is required. Defendants respectfully refer the Court to Plaintiff’s administrative appeal

for a full and accurate statement of its contents.

    58. Defendant FBI admits the allegations of Paragraph 58.

    59. Defendant FBI admits the allegations of Paragraph 59.

    60. Defendants incorporate by reference their responses to the preceding paragraphs.

    61. Paragraph 61 consists of a legal conclusion, to which no response is required.

    62. Paragraph 62 consists of a legal conclusion, to which no response is required.



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    63. Paragraph 63 consists of a legal conclusion, to which no response is required.

    64. Defendant EOUSA denies the allegations of paragraph 64. EOUSA received Plaintiffs’

FOIA request on March 1, 2023.

    65. Paragraph 65 contains a legal conclusion, to which no response is required.

    66. Defendants deny the allegations of Paragraph 66.

    67. Defendants deny the allegations of Paragraph 67.

    68. Paragraph 68 consists of a legal conclusion and argument, to which no response is required.

    69. Paragraph 69 consists of a legal conclusion and argument, to which no response is required.

    70. Defendants incorporate by reference their responses to the preceding paragraphs.

    71. Paragraph 71 consists of a legal conclusion, to which no response is required.

    72. Paragraph 72 consists of a legal conclusion, to which no response is required.

    73. Paragraph 73 consists of a legal conclusion, to which no response is required.

    74. Defendant FBI admits paragraph 74.

    75. Paragraph 75 consists of legal conclusions, to which no response is required.

    76. Defendant FBI admits that, as of the date of the Complaint, OIP had not issued a

determination as to Plaintiffs’ appeal.

    77. Paragraph 77 consists of a legal conclusion and argument, to which no response is required.

    78. Paragraph 78 consists of a legal conclusion and argument, to which no response is required.

    79. Paragraph 79 consists of a legal conclusion and argument, to which no response is required.




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Dated: May 15, 2023

                                          Respectfully submitted,

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